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                       UNITED STATES DISTRICT COURT
                        DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,
              Plaintiff,
     v.                                               CIVIL ACTION NO.
                                                      07-11194-MBB
$572,204 IN UNITED STATES
CURRENCY, MORE OR LESS
              Defendant.

                            MEMORANDUM AND ORDER
                           RE: MOTION TO SUPPRESS
                             (DOCKET ENTRY # 14)
                                March 31, 2009
BOWLER, U.S.M.J.

     On December 13, 2006, law enforcement personnel seized

$572,204 in United States currency from a horse trailer following

a traffic stop.      The stop and subsequent search and seizure

occurred as the result of a joint Drug Enforcement Agency (“DEA”)

and Massachusetts State Police (“MSP”) investigation involving

the surveillance of suspected drug trafficking activity.               On

January 23, 2008 claimant Winston H. Conkling (“claimant”) filed

the instant motion to suppress (Docket Entry # 14) and supporting

memorandum (Docket Entry # 15) seeking the exclusion of all

evidence obtained during the traffic stop and the search of his

trailer based on alleged Fourth Amendment violations.1            On


     1
       The motion (Docket Entry # 14) refers to the Massachusetts
Declaration of Rights, Massachusetts General Laws (“G.L.”)
chapter 272, section 99 (state wiretap statute) and G.L. chapter
214, section B (right to privacy). These claims are undeveloped
within claimant’s memorandum (Docket Entry # 15) and argument.
As such, this court will not address them here. See generally
Higgins v. New Balance Shoe, Inc., 194 F.3d 252, 260 (1st Cir.
1996) (the court “is free to disregard arguments that are not
adequately developed”).
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February 8, 2008, the government filed its memorandum in

opposition.      (Docket Entry # 18).

     On February 12, 2008, this court conducted a non-evidentiary

hearing and took the motion under advisement.2           A motion to

suppress evidence in this case is appropriate because the Fourth

Amendment’s exclusionary rule extends to civil forfeiture

proceedings.      See One 1958 Plymouth Sedan v. Pennsylvania, 380

U.S. 693, 696 (1965).       The Civil Asset Forfeiture Reform Act,

(“CAFRA”), reflects the Fourth Amendment’s protections in

requiring that seizures be made with a warrant, or that

warrantless seizures be based on probable cause and pursuant to a

lawful arrest or search.        See 18 U.S.C. § 981(b)(2)(B).

Challenges to a search and seizure, that is, whether probable

cause exists to support the belief that property is subject to

forfeiture at the time it is seized, are brought pursuant to a

motion to suppress under the rules of criminal procedure, not via

a motion to dismiss.       See United States v. $50,040 in U.S.

Currency, 2007 WL 1176631 at *3 (N.D.Cal. April 20, 2007); see

also United States v. $78,850 in U.S. Currency, 444 F.Supp.2d

630, 635-637 (D.S.C. 2006).


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       Within his motion (Docket Entry # 14), claimant seeks an
evidentiary hearing. An evidentiary hearing is only necessary if
“the movant makes a sufficient threshold showing that material
facts are in doubt or dispute, and that such facts cannot
reliably be resolved on a paper record.” U.S. v. Staula, 80 F.3d
596, 603 (1st Cir. 1996). There is no such showing made here,
the basic facts are undisputed.

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                              FACTUAL BACKGROUND3

1.   The Surveillance

     Beginning on December 12, 2006, DEA agents and MSP drug unit

members were conducting surveillance on a hotel (“the hotel”) in

Braintree, Massachusetts.         In the early morning hours of December

12, 2006, surveillance agents observed a white male (“WM1”)

speaking on a cellular telephone in the hotel parking lot, while

standing next to a white F-250 pick-up truck (“the truck”) with

an attached horse trailer (“the trailer”), both bearing Colorado

license plates.       Both vehicles were registered to claimant.

Shortly thereafter, another white male (“WM2”) driving a U-Haul

truck (“the U-Haul”) bearing Arizona plates pulled up next to

WM1, who entered the U-Haul truck which departed the hotel lot.

The U-Haul was rented in Colorado by James Maliawco (“Maliawco”)

and Corey Young (“Young”).

     In the morning of December 13, 2006, surveillance agents

observed a grey Lincoln Navigator (“the Navigator”) bearing

Massachusetts plates enter the hotel parking lot.             The Navigator

was rented by Adam Koenigsberg (“Koenigsberg”).             Koenigsberg

exited the Navigator and carried a duffel bag into the hotel,


      3
       The undisputed facts relevant to the instant motion are
drawn entirely from the Affidavit of Special Agent Jeffrey
Commander (“the affidavit”) filed along with the complaint
(Docket Entry # 1, Exhibit 1), incorporated by reference within
claimant’s memorandum (Docket Entry # 15) as “anticipated facts”
and within the government’s opposition (Docket Entry # 18).


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then soon came out of the hotel carrying the same duffel bag and

left the parking lot in the Navigator.      A check of Koenigsberg’s

record revealed several drug related convictions.        Surveillance

agents then interviewed hotel personnel who confirmed that

claimant had paid cash for two rooms on December 12, 2006, but

that one room appeared unused and that claimant had checked out

while his truck and trailer remained in the parking lot.

     Around noon on December 13, 2006, surveillance agents

observed Maliawco and Young in a Land Rover (“the Land Rover”)

pulling alongside the truck.     Both exited the Land Rover, opened

the door to the trailer and placed two or three duffel bags

inside.   A short while later, the Navigator driven by Koenigsberg

entered the hotel parking lot and pulled up next to the trailer.

Koenigsberg was observed handing Maliawco a duffel bag, which

Maliawco placed in the trailer, the Navigator then departed the

parking lot.   Shortly thereafter, both the truck and the Land

Rover left the hotel parking lot, the truck returned to the hotel

parking lot shortly thereafter to pick up the trailer and

departed with the trailer in tow.      The truck and trailer stopped

briefly in the South Shore Mall parking lot in the late

afternoon, then exited the mall parking lot toward the highway.

Surveillance was maintained into the early evening of December

13, 2006, when the truck and trailer were pulled over by the MSP

on Interstate 90 in Weston, Massachusetts.


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2.   The Stop

     Young was pulled over for a marked lane violation by MSP

Trooper Charles Kane (“Trooper Kane”), at approximately 6:00 p.m.

Young was the only occupant of the vehicle.        Young told Trooper

Kane that he was “weaving” because the trailer was so big.

Trooper Kane observed that Young was very nervous and that his

hands were shaking.    Trooper Kane asked Young several questions,

such as why there were no horses in the trailer or if there was

anything in the trailer.     Young responded that he didn’t know

what was in the trailer, but that it was his boss “Bill’s” who

had flown back to Colorado from Boston.       Young stated that his

friend had dropped off horses in Boston, but he didn’t know where

they were.   Young said that he had flown in from Colorado to

Boston on December 11, 2006, to drive the truck and trailer back

to Colorado, but produced a plane ticket dated December 12, 2006.

     Trooper Kane asked Young about the locked side door on the

trailer, which made Young visibly nervous.        Young told Trooper

Kane that he did not have the keys to the lock on the trailer

side door.   When Trooper Kane tried the trailer door, Young

stated, “This is getting bad.”      Trooper Kane removed his trained

K-9 German Shepard, Riggs, from his patrol car and led Riggs

around the truck and trailer.      Riggs is a properly certified and

trained narcotics dog that has successfully located drugs several

times before with exterior alerts.       Riggs immediately alerted to


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the locked side door of the trailer.

3.   The Search and Seizure

     After Riggs alerted to the side door of the trailer, Trooper

Kane and MSP Trooper Thomas Duane (“Trooper Duane”) opened the

door with a crowbar.    Just inside the door they found two duffle

bags and a shoe box containing a large sum of money, later

determined to be $572,204 in U.S. currency.        Trooper Kane entered

the trailer and found three empty duffle bags containing

marijuana residue.    Trooper Kane also noticed that the carpet was

saturated with oil and that the windows and vents were sealed

shut with duct tape.    The trailer was seized, the funds were

seized and Young was given a warning for a marked lane violation.

No arrests were made and no criminal charges were brought against

any of the persons involved.

                               DISCUSSION



A.   Did Traffic Stop Violate Claimant’s Fourth Amendment Rights?

     Claimant argues that the truck driven by Young was stopped

by Trooper Kane without probable cause or reasonable suspicion,

but rather as a pretext to investigate other crimes.          This court

must disagree.   The Fourth Amendment requires that traffic stops

by police and the resulting temporary detention of individuals

for questioning be reasonable, that is, based on probable cause

to believe that a traffic violation has occurred.         See Whren v.


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United States, 517 U.S. 806, 810 (1996); see also Delaware v.

Prouse, 440 U.S. 648, 653 (1979).

     The detention of a motorist based on probable cause does not

violate the Fourth Amendment’s prohibition on unreasonable

seizures even if an officer would not have stopped the motorist

absent some additional law enforcement objective.        Whren, 517

U.S. at 812-813.   This premise effectively forecloses any

argument that pretext might invalidate an otherwise justified

traffic stop.   See U.S. v. Andrade, 94 F.3d 9, 12 (1st Cir.

1996).   Young’s marked lane violation for admittedly “weaving” on

the highway provided probable cause to stop him for violating the

traffic laws.   Further, Trooper Kane had ample reasonable

suspicion, based on surveillance by fellow officers observing

what they believed to be consistent with drug trafficking and

collection of drug proceeds, to stop the truck and investigate.

See United States v. Kimball, 25 F.3d 1, 6 (1st Cir. 1994)(agents

may stop a moving automobile to investigate their reasonable

suspicion that the occupants were engaged in criminal activity);

see also United States v. Capelton, 350 F.3d 231, 240 (1st Cir.

2003) (“fellow officer rule” provides that “knowledge may be

imputed from DEA agents to the state police who actually

effectuated the stop”).

     This court credits Trooper Kane’s reasonable suspicion that

a crime had occurred and his contention that he observed a


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traffic violation and finds that the stop was justified and not

invalidated by pretext.4       Under Whren, the inquiry need not

proceed any further than a finding by the court of probable

cause.     Andrade, 94 F.3d at 12.      See also U.S. v. Miller, 589

F.2d 1117 (1st Cir. 1978) cert. denied, 440 U.S. 958 (1979)(a

mixed motive for a stop is irrelevant once finding of probable

cause is made).

     Even assuming that probable cause or reasonable suspicion do

not support the traffic stop, claimant lacks any “standing” to

assert his Fourth Amendment rights to suppress it.5            As stated by

the court in Alderman v. United States, 394 U.S. 165, 174 (1969),

“Fourth Amendment rights are personal rights which, like some

other constitutional rights, may not be vicariously asserted.”

See Rakas v. Illinois, 439 U.S. 128, 133 (1978).            A claimant

aggrieved only by the introduction of damaging evidence secured

by the stop and search of another person has not had any of his



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       The court distinguishes this case from those cited by
claimant, namely, U.S. v. Freeman, 209 F.3d 464 (6th Cir. 2000)
(holding that one isolated incident of partially weaving into
emergency lane does not constitute a traffic violation in
Tennessee), and U.S. v. Gregory, 79 F.3d 973 (10th Cir. 1996)
(same in Utah), as these are inapplicable to the specific facts
and law in this case.
     5
       There is a noteworthy difference between the threshold
issue of standing of third parties contemplated in civil
forfeiture cases and what the courts have labeled “standing” in
the context of search and seizures involving substantive Fourth
Amendment rights. This case involves the latter. See generally
United States v. Sanchez, 943 F.2d 110, 113 n.1 (1st Cir. 1991).

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       Fourth Amendment rights violated, thus may not benefit from

the exclusionary rule’s protection.       See Rakas, 439 U.S. at 134.

It is the movant’s burden to show “standing,” that is, “that the

challenged governmental action infringed upon his own Fourth

Amendment rights.”    Kimball, 25 F.3d at 5 (emphasis supplied).

      In this case, claimant was not present during Trooper Kane’s

stop of the truck driven by Young, nor was he present for the

ensuing search of the trailer.      At the time of the stop, Young

was the only occupant of the vehicle.       In fact, the record

indicates that the claimant “flew back to Colorado” before the

stop had occurred.    As such, claimant’s own “freedom from random,

unauthorized, investigatory seizures” has gone largely

undisturbed.   Michigan Department of State Police v. Sitz, 496

U.S. 444, 462 (1990); see Prouse, 440 U.S. at 657.         Thus,

claimant has not met his burden to prove “standing” to assert his

Fourth Amendment rights and the motion to suppress fails on this

point.



B.   Assuming Valid Traffic Stop, Did Search Exceed Scope of

Lawful Intrusion where Claimant had Legitimate Expectation of

Privacy?

      Claimant argues that even assuming that the traffic stop was

valid at its inception, the seizure of Young and subsequent

search of the trailer exceeded the constitutional limitations of


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the Fourth Amendment and, as such, the fruits of that search must

be suppressed.   Again, this court disagrees.

     First, claimant argues that the temporary detention and

questioning of Young by Trooper Kane was not “reasonably related

in scope to the circumstances which justified the interference in

the first place.”    Terry v. Ohio, 392 U.S. 1, 20 (1968).        Rather,

claimant states that the stop was unlawfully “prolonged beyond

the time reasonably required.”     Illinois v. Caballes, 543 U.S.

405, 407 (2005).    As claimant’s memorandum (Docket Entry # 15)

correctly states, however, police may further detain a driver

when “reasonable suspicion exists that the driver is engaged in

criminal activity.”    United States v. Guerrero-Espinoza, 462 F.3d

1302, 1307 (10th Cir. 2006).

     Such reasonable suspicion exists, thereby providing an

alternative ground to deny the instant motion.        Young’s nervous

behavior, his inaccurate responses to questioning, his statement

“this is getting bad” and knowledge by Trooper Kane of the

surveillance of Young’s conduct during the previous days provided

abundant justification for a prolonged detention and questioning.

See Illinois v. Wardlow, 528 U.S. 119, 119-120 (2000)

(“reasonable suspicion determination must be based on commonsense

judgments and inferences about human behavior” such as “nervous,

evasive behavior”).    Notwithstanding this finding, and as this

court has already held, claimant lacks “standing” to assert his


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Fourth Amendment rights and thus may not challenge the stop and

“seizure” of Young.    As the record makes clear, none of the

events occurring prior to the search of the trailer even involves

claimant’s own constitutional rights.

     Second, claimant asserts that the search of the trailer

unconstitutionally invaded his expectation of privacy with regard

to its contents.   Although claimant does not have the requisite

“standing” to challenge the stop and detention of Young, he does

have a constitutional right to challenge the search of the

trailer, as its owner.    See United States v. Ruiz, 345 F.Supp.2d

171, 173 (D.Mass. 2004); accord United States v. Powell, 929 F.2d

1190, 1196 (7th Cir. 1991).     Application of the Fourth Amendment

usually depends on whether the person invoking its protection can

claim a “reasonable” and “legitimate expectation of privacy.”

Smith v. Maryland, 442 U.S. 735, 735 (1979); see also Katz v.

United States, 389 U.S. 347, 361 (1967).

     Motor vehicle searches, however, represent an exception to

the constitutional protections provided for the expectation of

privacy usually associated with a person’s home or office.

Miller, 589 F.2d 1124-1125; see also Coolidge v. New Hampshire,

403 U.S. 443, 445 (1971).     As set out by the First Circuit in

United States v. Lopez, 380 F.3d 538 (1st Cir. 2004), a

“warrantless search of an automobile will be upheld if ‘officers

have probable cause to believe that the vehicle contains


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contraband.’” Lopez, 380 F.3d at 543 (quoting United States v.

Ross, 456 U.S. 798, 808 (1982)).          It is the government’s burden

to prove the lawfulness of the search.         See Lopez, 380 F.3d at

543.    More specifically, the government must demonstrate that

“law enforcement officers had ‘a belief, reasonably arising out

of circumstances known to the seizing officer [that an automobile

or other vehicle] contains that which by law is subject to

seizure and destruction.’” Id. (quoting Carroll v. United States,

267 U.S. 132, 149 (1925)).

       At the time of the search of claimant’s trailer, Trooper

Kane knew several things.       Trooper Kane knew of the surveillance

conducted on the trailer over the two previous days, he knew that

the observed behavior was consistent with drug trafficking and he

knew that the driver was visibly nervous, untruthful when

questioned and seemingly unaware of the contents of the trailer

he was pulling.     When Trooper Kane inquired about the side door

of the trailer, the driver became very nervous and stated “Oh

(expletive) this is bad.”       Additionally, Trooper Kane had a

narcotics dog, Riggs, in his cruiser.         After an initially

unsuccessful attempt at opening the side door of the trailer,

Trooper Kane retrieved Riggs and led the trained K-9 around the

exterior of the truck and trailer.         Riggs alerted to the side

door of the trailer.      With the help of Trooper Duane, Trooper

Kane opened the trailer side door with a crowbar and discovered


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the currency at issue, along with marijuana residue.

     The alert by Riggs alone likely provided the necessary

probable cause to search the trailer.       See United States v.

Brown, 500 F.3d 48, 57 (1st Cir. 2007) (a “reliable canine sniff

outside a vehicle can provide probable cause to search the

vehicle”).   Taken with the entirety of the aforementioned

circumstances known to Trooper Kane at the time in question,

there is overwhelming support for the seizing officer’s belief

that there was in fact contraband in the trailer.         As such, this

court finds that the government has met its burden and that the

search of claimant’s trailer was lawful.



                              CONCLUSION

     In accordance with the foregoing discussion, the motion to

suppress (Docket Entry # 14) is DENIED.




                                 /s/ Marianne B. Bowler
                                 MARIANNE B. BOWLER
                                 United States Magistrate Judge




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